               Case 5:23-cr-50059-TLB Document 29                          Filed 05/10/24 Page 1 of 7 PageID #: 98
 AO 2458 (Rev. 09/ 19)   Judgment in a Criminal Case
                         Sheet I



                                            UNITED STATES DISTRICT COURT
                                              Western District of Arkansas
                                                                )
                    UNITED STA TES OF AMERICA                   )    JUDGMENT IN A CRIMINAL CASE
                                v.                              )
                                                                )
                                                                )    Case Number:         5:23CR50059-001
                      KEVIN MALIK JOHNSON
                                                                )    USM Number:          79024-510
                                                                )
                                                                )    Kevin Lammers
                                                                )    Defendant's Attorney
 THE DEFENDANT:
 [8J      pleaded guilty to count(s) One (I) of the Indictment on December 4, 2023.

 D        pleaded nolo contendere to count(s)
          which was accepted bv the court.
D        was found guilty on count(s)
         after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                       Nature of Offense                                                               Offense Ended   Count
18 U.S.C. §§ 922(g)(I)                Felon in Possession of a Firearm                                                  09/ 19/2023      I
and 924(a)(8)




          The defendant is sentenced as provided in pages 2 through             7 - - of this judgment. The sentence is imposed pursuant
to the Sentencing Reform Act of 1984.                                         ---

D        The defendant has been found not guilty on count(s)

□        Count(s)   -------------- D is                                  D are dismissed on the motion of the United States.
          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                              Ma 9, 2024
                                                                                                          nt


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                                                                              Honorable James M. Moody, Jr. , United States District Judge
                                                                              Name and Ti tl e of Judge


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                Case 5:23-cr-50059-TLB Document 29                        Filed 05/10/24 Page 2 of 7 PageID #: 99
AO 2458 (Rev. 09/19)    Judgment in Criminal Case
                        Sheet 2 - Impri sonment
                                                                                                          Judgment -   Page     2        of         7
 DEFENDANT:                     KEVIN MALIK JOHNSON
 CASE NUMBER:                   5:23CR50059-001


                                                              IMPRISONMENT
            The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
 total term of: seventy-two (72) months.




       1:8J   The court makes the following recommendations to the Bureau of Prisons:
                  I. That the defendant be designated to FCI-EI Reno to the extent there is bedspace available in the defendant's
                      classification level.




      [8J     The defendant is remanded to the custody of the United States Marshal.

      D       The defendant shall surrender to the United States Marshal for this district:
              D at     _ _ _ _ _ _ _ _ _ _ D a.m.                  D    p.m.     on
              D as notified by the United States Marshal.

      D       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
              D before 2 p.m. on
              D as notified by the United States Marshal.
              D as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
I have executed this judgment as follows :




              Defendant delivered on                                                          to
at      _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                       UNITED ST A TES MARSHAL




                                                                            By
                                                                                 -----------=o=-E=-P-U_T_Y=-U
                                                                                                            -,--I_T_E_
                                                                                                              N      D_S_T_A_T_ES
                                                                                                                                _ M_A_R_S_H_A_
                                                                                                                                             L_ _ __ _ _
              Case 5:23-cr-50059-TLB Document 29                       Filed 05/10/24 Page 3 of 7 PageID #: 100
AO 2458 (Rev. 09/19) Judgment in a Criminal Case
                      Sheet 3   Supervised Release
                                                                                                           Judgment- Page _ _
                                                                                                                            3_     of       7
DEFENDANT:                    KEVIN MALIK JOHNSON
CASE NUMBER:                  5:23CR50059-001
                                                      SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of: three (3) years.




                                                     MANDATORY CONDITIONS
1.   You must not commit another federal , state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use ofa controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                D The above drug testing condition is suspended, based on the court's determination that you
                    pose a low risk of future substance abuse. (check if applicable)
4.       D You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
             restitution . (check if applicable)
5.       C8l You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.       D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901 , et seq.) as
              directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
              reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.       D    You must participate in an approved program for domestic violence. (check if applicable)


You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached page.
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AO 245B (Rev. 09/ 19)   Judgment in a Criminal Case
                        Sheet 3A - Supervised Release
                                                                                               Judgment- Page _ ___:4_ _ of _ _ _7~ - -

DEFENDANT:                    KEVIN MALIK JOHNSON
CASE NUMBER:                  5:23CR50059-001

                                       STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by
probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

I.   You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
     release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
     time frame .
2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
     when you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
     the court or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
     arrangements (such as the people you live with), you must notify the probation officer at least IO days before the change. If notifying
     the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
     hours of becoming aware of a change or expected change.
6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer
     to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
     doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
     you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
     responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
     days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
     becoming aware of a change or expected change.
8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
     convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
     probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm , ammunition, destructive device, or dangerous weapon (i.e., anything that
     was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
     tasers).
11 . You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
     first getting the permission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
     require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
     person and confirm that you have notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions of supervision.




U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov .



Defendant's Signature                                                                                    Date _ _ _ _ _ _ _ _ _ _ __
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AO 2458 (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3D - Supervised Release
                                                                                        Judgment-Page -~5- of          7
DEFENDANT:                KEVIN MALIK JOHNSON
CASE NUMBER:              5:23CR50059-001

                                        SPECIAL CONDITIONS OF SUPERVISION
1. The defendant shall submit to inpatient or outpatient substance abuse testing, evaluation, counseling, and/or treatment,
as may be deemed necessary and as directed by the U.S. Probation Office.

2. The defendant shall submit to inpatient or outpatient mental health testing, evaluation, counseling, and/or treatment, as
deemed necessary and as directed by the U.S. Probation Office.

3. The defendant shall not purchase, possess, use, distribute, or administer marijuana or obtain or possess a medical
marijuana card or prescription. If the defendant is currently in possession of a medical marijuana card, he will tum it over
immediately to the probation office.

4. The defendant shall submit his person, residence, place of employment and vehicle to a search to be conducted by the
U.S. Probation Office at any reasonable time and in any reasonable manner based upon any reasonable suspicion that
evidence of any violation of a condition of supervised release might thereby be disclosed.
                Case 5:23-cr-50059-TLB Document 29                           Filed 05/10/24 Page 6 of 7 PageID #: 103
AO 2458 (Rev. 09/ 19)   Judgment in a Criminal Case
                        Sheet 5 - Criminal Monetary Penalties
                                                                                                   Judgment -   Page _..::.
                                                                                                                         6_ _    of       7
 DEFENDANT:                        KEVIN MALIK JOHNSON
 CASE NUMBER:                      5:23CR50059-001
                                                CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                    Assessment               Restitution                 Fine                    AV AA Assessment*              JVTA Assessment**
 TOTALS         $   100.00               $   -0-                    $    900.00              $   -0-                       $ -0-



 D The determination of restitution is deferred until _ _ _ _ _. An Amended Judgment in a Criminal Case (A O 245C) w ill be
      entered after such determination.

 D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
      in the priority order or percentage payment column below. However, pursuant to 18 U .S.C. § 3664(i), all non federal victims must be
      paid before the United States is paid.

 Name of Payee                            Total Loss***                           Restitution Ordered                  Priority or Percentage




 TOTALS                           $ _ _ _ _ _ _ __                         $ _ __ __ _ _ __ __


 D Restitution amount ordered pursuant to plea agreement $

 D The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S .C. § 3612(g).

 ~    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      ~    the interest requirement is waived for the           ~ fine     D restitution.
      D the interest requirement for the           D     fine   D   restitution is modified as follows :

 * Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
 ** Justice for Victims of Trafficking Act of 2015 , Pub. L. No. 114-22.
 *** Findings for the total amount oflosses are required under Chapters 109A, 110, 11 OA, and 113A of Title 18 for offenses committed on
 or after September 13, 1994, but before April 23 , 1996.
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AO 2458 (Rev . 09/ 19)   Judgment in a Criminal Case
                         Sheet 6 - Schedule of Pavments
                                                                                                      Judgment -   Page _ _7_ _ of          7
 DEFENDANT:                   KEVIN MALIK JOHNSON
 CASE NUMBER:                 5:23CR50059-00 I

                                                          SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows :

 A     ~    Lump sum payment of$            1 000.00          due immediately, balance due

            D     not later than - ~ ~ - - - - -- - - , or
            ~     in accordance with D C D     D,  D E, or                  ~ F below; or

 B     D    Payment to begin immediately (may be combined with             DC,     DD, or       D F below); or

 C     D    Payment in equal        _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ _ _ _ _ ___ over a period of
                            (e.g , months or years) , to commence _____ (e.~.. 30 or 60 days) after the date of this judgment; or

 D     D    Payment in equal        _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ _______ over a period of
                            (e.~.. months or years), to commence _____ (e.g , 30 or 60 days) after release from imprisonment to a
            term of supervision; or

 E     D    Payment durin_g the term of supervised release will commence within _ _ _ _ _ (e.~.• 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F     ~    Special instructions regarding the payment of criminal monetary penalties:
            If not paid immediately, any unpaid financial penalty shall be paid by the defendant during his term of imprisonment at a rate of up
            to 50% of the defendant' s available funds , in accordance with the lnmate Financial Responsibility Program . During residential
            reentry placement, payments will be I 0% of the defendant's gross monthly income. The payment of any remaining balance shall
            become a condition of supervised release and shall be paid in monthly installments of $45.00 or 10% of the defendant's gross
            monthly household income, whichever is greater, with the entire balance to be paid in full no later than one month prior to the end of
            the period of supervised release.

 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
 during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons '
 Inmate Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 D     Joint and Several

       Case Number
       Defendant and Co-Defendant Names                                                  Joint and Several              Corresponding Payee,
       (including defendant number)                         Total Amount                      Amount                        if appropriate




 D     The defendant shall pay the cost of prosecution.

 D     The defendant shall pay the following court cost(s):

 D     The defendant shall forfeit the defendant's interest in the following property to the United States:



 Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) AV AA assessment, (5)
 fine principal, (6) fine interest, (7) community restitution, (8) NTA assessment, (9) penalties, and ( I 0) costs, including cost of prosecution
 and court costs.
